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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,
                                                   Criminal Case No. 16-20285
v.                                                 Honorable Linda V. Parker

MICHAEL L. CLARK,

          Defendant.
______________________________/

 OPINION AND ORDER DENYING AS MOOT DEFENDANT’S MOTION
     FOR MODIFICATION OF TERM OF IMPRISONMENT FOR
  EXTRAORDINARY AND COMPELLING REASONS UNDER 18 U.S.C.
                    § 3582 (ECF NO. 23)

      On June 21, 2016, Defendant pleaded guilty pursuant to a Rule 11 Plea

Agreement to possession with intent to distribute cocaine in violation of 18 U.S.C.

§ 841(a)(1). This Court sentenced Defendant on September 27, 2016 to a term of

imprisonment of 70 months, followed by a three-year term of supervised release.

The matter is presently before the Court on Defendant’s Motion for Modification

of Term of Imprisonment for Extraordinary and Compelling Reasons Under 18

U.S.C. § 3582. (ECF No. 23.) However, on September 23, 2020, the Government

informed the Court that the Bureau of Prisons granted Defendant residential
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reentry center placement on September 3, 2020, which will lead to his release on

home confinement.

      Accordingly,

      IT IS ORDERED that Defendant’s Motion for Modification of Term of

Imprisonment for Extraordinary and Compelling Reasons Under 18 U.S.C. § 3582

(ECF No. 23) is DENIED AS MOOT.

   IT IS SO ORDERED.
                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE

 Dated: September 25, 2020




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